Case 17-01458-JDP          Doc 38     Filed 11/20/17 Entered 11/20/17 16:33:14            Desc Main
                                      Document     Page 1 of 2


 Rudy L. Patrick ISBN 6138
 The Patrick Law Group
 129 E. Pine Avenue
 Meridian, Idaho 83642
 Telephone: 888-602-6186
 Facsimile: 888-620-7705
 office@rudypatrick.com
 Attorney for Creditor in Bankruptcy No. 17-01458-JDP

                           UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF IDAHO

In Re:

Shiloh Management Services, Inc.                         Case No. 17-01458-JDP
aka Shiloh Investments, Inc., aka Clear Portal, aka
                                                         CHAPTER 7
Gilgal Development, aka England Group, Inc.
6268 W. Lake Hazel Rd.
Nampa, ID 83687

                         Debtor



                             CREDITOR’S REQUEST FOR NOTICE

TO THE CLERK:

         Creditor Liberty Enterprises, LLC., Manager Walt Holton, hereby requests notice of all

moving papers, notices and/or pleadings in this proceeding, to be duly served upon its attorney,

Rudy L. Patrick of The Patrick Law Group, 129 E. Pine Ave, Meridian, Idaho 83642.

         Dated this 17th day of November, 2017.


                                                      /s/ _____Rudy L. Patrick________________
                                                      Rudy L. Patrick, of the firm
                                                      Attorney for Creditor Liberty Enterprises, LLC.
Case 17-01458-JDP         Doc 38     Filed 11/20/17 Entered 11/20/17 16:33:14               Desc Main
                                     Document     Page 2 of 2


                                   CERTIFICATE OF SERVICE



        I HEREBY CERTIFY that on the 20th day of November, 2017, I electronically filed the
CREDITOR’S REQUEST FOR NOTICE with the Clerk of the Court using the CM/ECF system which sent a
Notice of Electronic Filing to the individuals so noted below via Electronic Notification and more fully
reflected on the Notice of Electronic Filing:

Noah Hillen ngh@hillenlaw.com


US Trustee
ustp.region18.bs.ecf@usdoj.gov

        On the 20th day of November, 2017, I sent the above referenced documents via first class
postal mail to each party listed below, via US Mail with postage pre-paid:


Shiloh Management, Inc.
c/o Nathan Pyles, Registered Agent
6268 W. Lake Hazel Road
Nampa, Idaho 83687

                                             /s/     Rudy L. Patrick
                                             Rudy L. Patrick
